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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY
                           NEWARK DIVISION


SOCIAL POSITIONING INPUT
SYSTEMS, LLC,
               Plaintiff,                    C.A. 2:21-CV-08563-JMV-MAH

            v.                               JURY TRIAL DEMANDED

ANGELSENSE, INC.,                            PATENT CASE

                  Defendant.


          ANGELSENSE, INC.’S ANSWER, AFFIRMATIVE DEFENSES,
           AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

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                                         ATTORNEYS FOR DEFENDANT
                                         ANGELSENSE, INC.

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       Defendant AngelSense, Inc.’s (“AngelSense” or “Defendant”) files this Answer,

Affirmative Defenses, and Counterclaims to Plaintiff Social Positioning Input Systems, LLC’s

(“Plaintiff” or “Social Positioning”) Complaint for Patent Infringement (“Complaint”).

AngelSense denies the allegations and characterizations in Plaintiff’s Complaint unless expressly

admitted in the following paragraphs.1

                               PARTIES AND JURISDICTION

       1.      AngelSense admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.

       2.      AngelSense admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       3.      AngelSense is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 3 of the Complaint and, on that basis, denies all such

allegations.

       4.      AngelSense admits the allegations in Paragraph 4 of the Complaint.

       5.      AngelSense does not contest that the Court has personal jurisdiction over it in this

case. AngelSense admits that it conducts business in the State of New Jersey. AngelSense denies

it has committed or is committing acts of infringement within this district or elsewhere and, on

that basis, denies the remaining allegations of Paragraph 5 of the Complaint.




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  For avoidance of doubt, AngelSense denies liability for all allegations of patent infringement
included or implied in the introductory paragraph or in any headings of the Complaint.
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       6.      AngelSense admits that it has used, imported, offered for sale, or sold

instrumentalities in this District. AngelSense denies it has committed or is committing acts of

infringement within this district or elsewhere and, on that basis, denies the remaining allegations

of Paragraph 6 of the Complaint.

                                              VENUE

       7.      AngelSense does not contest that venue is proper in this case, but denies that

venue is convenient.

                                             COUNT I

      (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO. 9,261,365

       8.      AngelSense incorporates paragraphs 1 through 7 herein by reference.

       9.      AngelSense admits that the Complaint purports to set forth an action for

infringement under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.

       10.     AngelSense is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 10 of the Complaint and, on that basis, denies all such

allegations.

       11.     AngelSense admits that a purported copy of U.S. Patent No. 9,261,365 (the “’365

Patent”) is attached to the Complaint as Exhibit A and that the face of that patent indicates that it

is entitled “Device, System and Method for Remotely Entering, Storing and Sharing Addresses

for a Positional Information Device.”

       12.     AngelSense denies the allegations in Paragraph 12 of the Complaint.

       13.     AngelSense denies the allegations in Paragraph 13 of the Complaint.

       14.     AngelSense denies the allegations in Paragraph 14 of the Complaint.

       15.     AngelSense denies the allegations in Paragraph 15 of the Complaint.
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          16.    AngelSense denies the allegations in Paragraph 16 of the Complaint.

          17.    AngelSense denies the allegations in Paragraph 17 of the Complaint.

          18.    AngelSense denies the allegations in Paragraph 18 of the Complaint.

          19.    AngelSense denies the allegations in Paragraph 19 of the Complaint.

          20.    AngelSense is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 21 and, on that basis, denies all such allegations.

                          [PLAINTIFF’S] DEMAND FOR JURY TRIAL

          AngelSense is not required to provide a response to Plaintiff’s demand for a trial by trial.

                              [PLAINTIFF’S] PRAYER FOR RELIEF

          AngelSense denies the Plaintiff is entitled to any relief from AngelSense and denies all

the allegations contained in Paragraphs (a)-(e) (including any subparts) of Plaintiff’s Prayer for

Relief.

                                    AFFIRMATIVE DEFENSES

          AngelSense’s Affirmative Defenses are listed below. AngelSense reserves the right to

amend its answer to add additional Affirmative Defenses consistent with the facts discovered in

this case.

                                FIRST AFFIRMATIVE DEFENSE

          AngelSense has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’365 Patent.




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                            SECOND AFFIRMATIVE DEFENSE

       Each asserted claim of the ’365 Patent is invalid for failure to comply with one or more

of the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                              THIRD AFFIRMATIVE DEFENSE

       To the extent that Plaintiff and any predecessors in interest to the ’365 Patent failed to

properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that AngelSense’s actions allegedly infringe the ’365 Patent,

AngelSense is not liable to Plaintiff for the acts alleged to have been performed before

AngelSense received actual notice that it was allegedly infringing the ’365 Patent.

                            FOURTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff asserts that AngelSense indirectly infringes, either by

contributory infringement or inducement of infringement, AngelSense is not liable to Plaintiff

for the acts alleged to have been performed before AngelSense knew that its actions would cause

indirect infringement.

                              FIFTH AFFIRMATIVE DEFENSE

       The claims of the ’365 Patent are not entitled to a scope sufficient to encompass any

system employed or process practiced by AngelSense.

                              SIXTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.



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                              SEVENTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

’365 Patent does not claim patent eligible subject matter under 35 U.S.C. § 101.

                               EIGHTH AFFIRMATIVE DEFENSE

          Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any system employed by

AngelSense practices: “sending a request from a requesting positional information device to a

server for at least one address stored in at least one sending positional information device, the

request including a first identifier of the requesting positional information device”; and

“receiving at the requesting positional information device, from the server, a retrieved at least

one address to the requesting positional information device wherein the server determines a

second identifier for identifying the at least one sending positional information device based on

the received first identifier and retrieves the requested at least one address stored in the identified

at least one sending positional information device”; as required by Claim 1 of the ’365 Patent.
                                NINTH AFFIRMATIVE DEFENSE

          Plaintiff is estopped, based on statements, representations, and admissions made during

prosecution of the patent application resulting in the asserted patent, from asserting any

interpretation of any valid, enforceable claims of the ’365 Patent that would be broad enough to

cover any accused product alleged to infringe the asserted patent, either literally or by

application of the doctrine of equivalents.

                               TENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C. §§ 286 and

287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering costs associated with its

action.

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                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff is precluded from recovering its reasonable attorney’s fees, costs, and or

increased damages under 35 U.S.C. §§ 284 or 285.

                           TWELFTH AFFIRMATIVE DEFENSE

       Should AngelSense be found to infringe any valid, enforceable claim of the ’365 Patent,

such infringement was not willful.

                            ANGELSENSE’S COUNTERCLAIMS

       For its counterclaims against Plaintiff Social Positioning Input Systems, LLC (“Social

Positioning”), Counterclaim Plaintiff AngelSense Corporation (“AngelSense”), alleges as

follows:

                                            PARTIES

       1.       Counterclaim Plaintiff AngelSense is a corporation organized and existing under

the laws of Delaware that maintains a place of business at 30 Chapin Rd., Unit 1201, Pine Brook,

New Jersey 07058.

       2.       Upon information and belief based solely on Paragraph 1 of the Complaint as

pled by Plaintiff, Counterclaim Defendant Social Positioning Input Systems, LLC is a limited

liability company organized and existing under the laws of Texas that maintains its principal

place of business at 1801 NE 123 Street, Suite 314, Miami, FL 33181.

                                        JURISDICTION

       3.       AngelSense incorporates by reference Paragraphs 1–2 above.

       4.       These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
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       5.        Social Positioning has consented to the personal jurisdiction of this Court at

least by commencing its action for patent infringement in this District, as set forth in its

Complaint.

       6.        Based solely on Social Positioning’s filing of this action, venue is proper for

purposes of these counterclaims in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.

                             COUNT I
     DECLARATION REGARDING NON-INFRINGEMENT OF THE ’365 PATENT

       7.        AngelSense incorporates by reference Paragraphs 1–6 above.

       8.        Based on Social Positioning’s filing of this action and at least AngelSense’s first

affirmative defense, an actual controversy has arisen and now exists between the parties as to

whether AngelSense infringes U.S. Patent No. 9,261,365 (the “’365 Patent”).

       9.        AngelSense does not infringe at least Claim 1 of the ’365 Patent because, inter

alia, Plaintiff has not stated a plausible allegation that any system employed by AngelSense

practices: “sending a request from a requesting positional information device to a server for at

least one address stored in at least one sending positional information device, the request

including a first identifier of the requesting positional information device”; and “receiving at the

requesting positional information device, from the server, a retrieved at least one address to the

requesting positional information device wherein the server determines a second identifier for

identifying the at least one sending positional information device based on the received first

identifier and retrieves the requested at least one address stored in the identified at least one

sending positional information device.”

       10.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

AngelSense requests a declaration by the Court that AngelSense has not infringed and does not


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infringe any claim of the ’365 Patent under any theory (including directly (whether individually

or jointly) or indirectly (whether contributorily or by inducement).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.       AngelSense incorporates by reference Paragraphs 1–10 above.

       12.       Based on Social Positioning’s filing of this action and at least AngelSense’s

Second Affirmative Defense, an actual controversy has arisen and now exists between the parties

as to the validity of the claims of the ’365 Patent.

       13.       On information and belief, the claims of the ’365 Patent are invalid for failure to

comply with one or more of the requirements of United States Code, Title 35, and the rules,

regulations, and laws pertaining thereto.

       14.       For example, as explained in AngelSense’s Motion to Dismiss pursuant to Fed.

R. Civ. P. 12(b)(6), incorporated by reference herein, the ’365 Patent is invalid for failure to

comply with 35 U.S.C. § 101. As explained, the ’365 Patent claims nothing more than an abstract

idea, and it fails to claim an inventive concept.

       15.       Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq.,

AngelSense requests a declaration by the Court that the claims of the ’365 Patent are invalid for

failure to comply with one or more of the requirements of United States Code, Title 35, including

without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

pertaining thereto.

       16.       AngelSense does not have an adequate remedy at law.




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                                    PRAYER FOR RELIEF

       WHEREFORE, AngelSense asks this Court to enter judgment in AngelSense’s favor and

against Social Positioning by granting the following relief:

       a)       a declaration that the ’365 Patent is invalid;

       b)       a declaration that AngelSense does not infringe, under any theory, any valid

claim of the ’365 Patent that may be enforceable;

       c)       a declaration that Social Positioning take nothing by its Complaint;

       d)       judgment against Social Positioning and in favor of AngelSense;

       e)       dismissal of the Complaint with prejudice;

       f)       a finding that this case is an exceptional case under 35 U.S.C. § 285 and an

award to AngelSense of its costs and attorneys’ fees incurred in this action; and

       g)       further relief as the Court may deem just and proper.

                                        JURY DEMAND

       AngelSense hereby demands trial by jury on all issues.




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Dated: July 6, 2021
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                                                    ATTORNEYS FOR DEFENDANT
                                                    ANGELSENSE, INC.




                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 6, 2021, a true and correct copy of the

forgoing document has been served on counsel of record who are deemed to have consented to

electronic service via the Courts CM/ECF system.

 Date: July 6, 2021                              /s/ Michael T. Zoppo
                                                 Michael T. Zoppo




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